     Case 3:15-cv-14887 Document 36 Filed 10/12/16 Page 1 of 1 PageID #: 171




FRAP/FQRM 11 USDC/APP-001 (Rev. 11/07) Notice of Appeal



                              United States District Court
                                  SOUTHERN DISTRICT OF WEST VIRGINIA
                                              AT   HUNTINGTON




Carlton & Harris Chiropractic, Inc., a West
Virginia corporation, individually and as the
representative of a class of
similarly-situated persons,

                              Plaintiff,
                                                          Notice of Appeal
V.
                                                          CA    3:15-14887
PDR Network, LLC, PDR Distribution,
LLC, PDR Equity, LLC and John Does
1-10,


                              Defendants.




            Notice is hereby given that CARLTON & HARRIS CHIROPRACTIC, INC.




Plaintiff         inthe above named case hereby appeal(s) to theUnited States Court ofAppeals for
the Fourth Circuit from the            Memorandum Opinion (Doc. 33) andthe Judgment (Doc. 34)

entered in this action on                  9/30/2016



                                                          /s/ D. Christopher Hedges
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